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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR20-0097-JCC
10                              Plaintiff,                    ORDER
11           v.

12   JIOVANNI NUNEZ,

13                              Defendant.
14

15           This matter comes before the Court on the Government and Defendant Jiovanni Nunez’s
16   stipulated motion to continue the trial date and the pretrial motions deadline (Dkt. No. 33). Trial
17   is currently scheduled for September 28, 2020, and the pretrial motions deadline is August 27,
18   2020.
19           The parties move to continue the trial date to February 8, 2021; continue the pretrial
20   motions deadline to January 8, 2021; and exclude the time period from the date of this order to
21   the new trial date for purposes of the Speedy Trial Act. (See generally Dkt. No. 33.) The parties
22   argue discovery in this matter is especially voluminous, consisting of the contents of cellphones
23   that have been seized and searched, audio and video recordings from controlled buys, and
24   photographic surveillance images. (See id.) Further, the parties contend the COVID-19 pandemic
25   has limited defense counsel’s ability to adequately review discovery with Mr. Nunez and
26   rendered additional time necessary for effective trial preparation. (See id.) Having thoroughly


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 1   considered the motion, the relevant record, and the Court’s General Orders addressing measures

 2   to reduce the spread and health risks from COVID-19, incorporated herein by reference, the

 3   Court hereby FINDS:

 4      1. In light of the recommendations made by the Centers for Disease Control and Prevention

 5          and Public Health for Seattle and King County regarding social distancing measures

 6          required to stop the spread of COVID-19, as well as the lack of personal protective

 7          equipment necessary to ensure the health and safety of all participants, it is not possible

 8          to proceed with a jury trial on September 28, 2020. See W.D. Wash. Gen. Orders Nos.

 9          02-20, 13-20; 18 U.S.C. § 3161(h)(7)(B)(i).

10      2. The COVID-19 pandemic has also rendered the Court unable to obtain an adequate

11          spectrum of jurors that would represent a fair cross section of the community, which

12          would likely make proceeding on the current case schedule in this matter impossible or

13          would result in a miscarriage of justice. See W.D. Wash. Gen. Orders Nos. 02-20, 13-20;

14          18 U.S.C. § 3161(h)(7)(B)(i).

15      3. The COVID-19 pandemic has affected defense counsel’s ability to adequately review

16          discovery with Defendant and has prevented defense counsel, despite due diligence, from

17          fully and adequately preparing for trial. Therefore, the failure to grant this continuance

18          would deny counsel for Defendant reasonable time necessary for effective preparation.
19          See 18 U.S.C. § 3161(h)(7)(B)(iv).

20      4. As a result, the Court finds the ends of justice served by granting a continuance outweigh

21          the best interests of the public and Defendant in a speedy trial. See 18 U.S.C.

22          § 3161(h)(7)(A).

23          For the foregoing reasons, the Court GRANTS the motion to continue the trial date and

24   pretrial deadlines (Dkt. No. 33). The trial date is hereby CONTINUED to February 8, 2021, at

25   9:30 a.m. The Court further ORDERS that the time between the date this order is issued and the

26   new trial date is excludable time under the Speedy Trial Act pursuant to 18 U.S.C.


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 1   § 3161(h)(7)(A), 3161(h)(7)(B)(i), and 3161(h)(7)(B)(iv). Any pretrial motions must be filed no

 2   later than January 8, 2021.

 3          DATED this 18th day of September 2020.




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                                                        John C. Coughenour
 7                                                      UNITED STATES DISTRICT JUDGE
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